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Ul\ll`TED STATES DlSTRlCT CUUR"['
SUUTHERN DISTRICT UF FLUHIDA

CASE Nt}.: UE~Sl=fid§-CV-HURLEYFHUPK_lNS

SCS AI,EXANDRE ET CIE d:'hf`a PRETT"¢’
YUL| MUNACU, a foreign e.onzoration_.

Plaintif`t`,
vs.

l-£‘tl\lr"t MARKS LT[J.: lNL`.,
a l"lorida eorporatiott.

Deli:ndant.

 

Dl'l{anR.#.TIDN [`}F t'fHRl."`iTINE WRIGH`I`
Cl'trist'ine Wright. declares under the penalty ot` perjury the t`ol|owing.r

l. l arn the accounting manager l`or l.ana l'vlarlts Ltd.. lne.1 the [}efendant in this action |
am the day to day manager at Lana Marlts Ltd_T lne_ l have no legal training ttor have l
ever had to handle or he involved with a lawsuit before in federal court.

2. l_lpon receiving a copy of the eontplaint. l called the chambers ol` lodge [Janie| lltlrle§rr
and spoke with someone named `l'hereaa. l told her that l had received some kind of
motion saying that Lana lvlarks Ltd. l_ne. needed to answer the oomplaint. She suggested
that we tile a request for an extension of titne. l filled out the Request and sent it
overnight deliveryr to the Conrt.

3. A{"lerward, l received a copy of the Cou.rt`e ll?irder setting Trial Date & []isoover;»'
Deadlines. This Dn:|er contains a date for trial of .lanuarjyl ll, 2tlll_`l. [ understood this date
to mean that Lana ivlarl-te Ltd., lnc. did not have to submit any response until trial as that

would be when the eompan;tr would present its defenses [ informed Lana l't.flarlts1 the

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owner of our company oi` the lannarjr, lilltft trial date and told her no response was
needed until then. l understand now that ray understanding was completely incorrect. l
submit that my misunderstanding was excusable neglect and ask that an;~f default he
removed so that the case mayl he defended

4. Lana lvtarks l..td. Inc.. upon receiving the Court's Urder to Show Caase. understands that
it must mtain counsel and it has now done so. In addition. the company will now lite the
requisite answers and so forth in accordance with the law.
t declare under penalty ol`]'ler‘iur;tl that the foregoing is tn1e and correct1 pursuant to 23

llSti` See. l?4o.

lisecuted on this _ _duy oi` lvtay. E{Jt.ttl'.

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L.hristinc L'j{_l_»_"llv’right

